                                 General Order
                           Western District of Missouri
                       Mediation and Assessment Program
                      (Restatement Effective August 1, 2013,
                     Amendment Effective September 1, 2015)


I.    PURPOSE

      The Court’s Mediation and Assessment Program (“MAP” or the “Program”) is
      designed to encourage parties to: 1) confront the facts and issues in their case
      before engaging in unnecessarily expensive and time-consuming discovery
      procedures, 2) engage in early and meaningful discussions of the issues, 3)
      consider the views of the opposing side, 4) consider the projected costs of future
      proceedings in an effort to settle the case before costs and lawyers’ fees have
      made settlement more difficult, and 5) consider other methods of resolving their
      disputes. It recognizes that full formal litigation of civil claims can impose large
      economic and other burdens on parties and can delay the resolution of disputes. It
      will be administrated by a “Director,” and all references herein to “Director” shall
      be deemed to be referring to the Director of the Program.

II.   PROGRAM OVERVIEW

      A.      Mediation. Mediation is the primary method of Alternative Dispute
              Resolution (“ADR”) offered by the Court under this Program.

             1.      Mediation is a process in which a neutral third party assists the
                     parties in developing and exploring their underlying interests (in
                     addition to their legal positions), promotes the development of
                     options and assists the parties toward settling the case through
                     negotiations. The mediation process does not normally
                     contemplate presentations by witnesses.

             2.      The Director, Mediating Judge or Outside Mediator (collectively
                     “Mediator”) may give to any or all parties:

                     a)     an estimate, where feasible, of the likelihood of liability
                            and the dollar range of damages;

                     b)     an opinion of the verdict if he or she were the trier of fact;

                     c)     an assessment of key evidentiary and tactical issues; and

                     d)     a nonbinding, reasoned evaluation of the case on its merits.

             3.      The Mediator does not review or rule upon questions of fact or
                     law, or render any final decision in the case.

                                           1

 Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 1 of 12
            4.     The Mediator does not have power to impose a settlement or to
                   dictate any agreement regarding the pretrial management of the
                   case. This provision shall not preclude the parties from reaching
                   an agreement with assistance from the Mediator as to what
                   information should be exchanged prior to mediation, so long as it
                   does not contradict or conflict with the Scheduling Order or any
                   other order as to the management of the case.

       B.   Other Options. If any participant in the Program is interested in an ADR
            option other than mediation, such as early neutral evaluation, mini-trials,
            summary jury trials, arbitration or some other hybrid form of ADR (“other
            ADR option sessions”), that participant should contact the Director to
            discuss sufficiently in advance of the mediation or pre-mediation
            conference, if applicable. If the parties are unable to agree, the Director in
            his or her discretion, after consultation with one or all the parties, may
            select some other form of ADR. The Director may not select binding
            arbitration unless all parties agree in writing.

III.   ROLE OF DIRECTOR

       A.   Selection. The Program Director shall be selected by the Court.

       B.   Director Responsibilities. In addition to any responsibilities or duties
            noted elsewhere in this General Order or as assigned by the Chief Judge,
            the Director shall have the following responsibilities:

            1.     Direct and administer the Program, including developing
                   guidelines and rules consistent with this General Order and
                   coordination of all activities with the office of the Western District
                   Clerk.

            2.     Set and conduct mediation sessions or other ADR option sessions
                   as time permits. Serve as a mediator at any subsequent mediation
                   or other ADR option sessions in his or her discretion.

            3.     Oversee the assignment, and where necessary reassignment, of
                   cases in the Mediation and Assessment Program. To the extent not
                   otherwise handled automatically by CM/ECF, assign cases for
                   mediation or for other appropriate ADR option sessions to: United
                   States Magistrate Judges, United States Bankruptcy Judges,
                   Outside Mediators, the Director, and if a United States District
                   Court Judge consents to the assignment, cases may be assigned to a
                   United States District Court Judge.

            4.     Assist in monitoring the evaluation of the Program, including
                   participation in the development, compilation and analysis of
                   surveys, questionnaires and focus groups for counsel and clients.


                                          2

 Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 2 of 12
           5.     Require mediators on the List of Mediators to take selected cases
                  pro bono if needed. Such assignment shall be made using a fair
                  process in the sole discretion of the Director. The Director shall
                  develop guidelines for determining whether a case qualifies for pro
                  bono assignment.

           6.     Report to the Court on the status of the Program and make
                  appropriate recommendations for modifications of the Program.

           7.     Decide, in his or her discretion, at any time in the process, to
                  exempt, temporarily suspend, extend the deadlines or withdraw a
                  case from the Program, if for any reason, the case is not suitable
                  for the Program.

           8.     Permit, in his or her discretion, parties to submit written mediation
                  or other ADR statements, no longer than three pages three business
                  days prior to the session.

           9.     Organize and conduct, in his or her discretion, training or other
                  sessions for Mediators and participants as needed and as time
                  permits.

           10.    Select, organize and lead, in his or her discretion, a group or
                  advisory board to provide input and suggestions for the Program as
                  needed and as time permits.

           11.    Develop a policy which will address the collection of files, written
                  statements, and other confidential materials for storage and
                  destruction.

IV.   INCLUDED CASES

      A.   Case Selection. All non-excluded civil cases filed in the Western District
           shall be included in the Mediation and Assessment Program.

      B.   Excluded Cases. The following cases are excluded from the Program:

           1.     Multi-district cases

           2.     Social Security appeals

           3.     Bankruptcy appeals

           4.     Habeas Corpus actions

           5.     Prisoner pro se cases

           6.     Other pro se cases where motion for appointment of counsel is
                  pending
                                          3

Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 3 of 12
          7.     Prisoner cases

          8.     Student Loan cases

          9.     Citizenship or Immigration cases.

     C.   Class and Collective Actions. The Director may determine in his or her
          discretion when and how to involve class and collective action cases in the
          Program.

     D.   Additions. The Director or any Western District Judge may in his or her
          discretion add additional cases to the Program which are not automatically
          assigned to the Program.

V.   GENERAL PROCEDURES

     A.   Notice to Parties. Notice to parties of case selection for the Program
          shall be provided as follows:

          1.     When a non-excluded case is filed, the parties will receive
                 electronic Notice of Inclusion in the Program and assignment of
                 their case to the Program Director, a Western District Judge or the
                 Outside Mediator category for purposes of mediation.

          2.     The Clerk shall mail a copy of the Notice of Inclusion to any pro se
                 litigant who does not utilize CM/ECF.

          3.     In pro se matters or other matters in which the Clerk is required to
                 issue service, the Notice of Inclusion shall be attached by the Clerk
                 to each summons issued in such action.

          4.     Plaintiff’s counsel shall serve a copy of the Notice of Inclusion on
                 defense counsel in conjunction with service of the Complaint or, if
                 applicable, Defendant’s counsel shall serve a copy of the Notice of
                 Inclusion on Plaintiff’s counsel in conjunction with service of the
                 Notice of Removal.

     B.   Timing. The initial mediation or other ADR option session conducted
          pursuant to this Program shall occur no later than 75 calendar days after
          the Rule 26 meeting unless an extension of time is granted pursuant to
          Section V.C. below.

     C.   Extensions

          1.     Extensions of Deadlines and Events in Outside Mediator Cases and
                 Director Cases. Requests for extensions of Program deadlines and
                 events shall be made in writing (email and facsimile are
                 acceptable) to the Director within five business days of receiving
                 notice of the deadline or event, unless another timeframe is set by
                                       4

Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 4 of 12
                 the Director. The request shall include the detailed good cause
                 reason for the requested extension and the opposing party’s
                 position on the requested extension. The Director may grant or
                 deny the request in his or her discretion. Appeals from the
                 Director's decision, while discouraged, may be made by written
                 motion to the Judge to whom the case is assigned.

          2.     Extensions or Changes to a Mediation Date with a Mediating
                 Judge. If good cause exists to request a change in the mediation
                 date set by the Mediating Judge, such request shall be made in
                 writing to the Mediating Judge within five business days of notice
                 of the mediation or other ADR option session or within the
                 timeframe otherwise required by the Mediating Judge.

          3.     Mediation Dates Set by Director or Mediating Judges. If the
                 Director or a Mediating Judge schedules a mediation or other ADR
                 option session outside the 75 calendar day period following the
                 Rule 26 meeting, such scheduling will operate as an automatic and
                 acceptable extension under this Section without any additional
                 action on the part of counsel or the parties.

     D.   Opting Out. Cases will not normally be allowed to opt out of the
          Program. However, there may be cases where good cause can
          be demonstrated for opting out. All requests to opt out shall be in writing
          and shall set forth in detail the reasons for the request. A written request
          (email and facsimile are acceptable) asking to opt out shall be sent to the
          Director within ten calendar days of receiving the initial Notice of
          Inclusion that the case is assigned to the Program. Subject to the
          considerations stated herein, the Director may grant or deny the request in
          his or her discretion. Appeals from the Director's decision, while
          discouraged, may be made by written motion to the Judge to whom the
          case is assigned.

     E.   Attendance at Program Sessions and Location.

          1.     Parties and Representatives

                 a)      Parties. It is the intent of the Court that the parties attend
                         all mediation or other ADR option sessions in person where
                         there will be significant discussion about resolving the
                         case.

                 b)      Party Alternate. A party other than a natural person
                         satisfies the attendance requirement if represented by a
                         person or persons (other than outside or local counsel) with
                         authority to enter into stipulations, with reasonable
                         settlement authority, and with sufficient stature in the

                                        5

Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 5 of 12
                         organization to have direct access to those who make the
                         ultimate decision about settlement.

                 c)      Insurer. If an insurance company’s approval is required by
                         any party to settle a case, a representative of the insurance
                         company with significant settlement authority shall attend
                         the mediation or other ADR option sessions in person.

          2.     Proper Representative. If it appears to the Mediator that a case is
                 not being reasonably evaluated by the representative present, the
                 Mediator may meet privately with one or both sides to determine
                 the analysis that has gone into the evaluation of the case, including
                 the names and the authority of the individual involved in the
                 analysis. The Mediator may request identified individuals or
                 designate a level of authority to be present if subsequent Program
                 sessions are scheduled.

          3.     Counsel. Each party shall be accompanied in person by the lawyer
                 expected to be primarily responsible for handling the trial of the
                 matter (“lead trial counsel”). Local counsel is not typically
                 required to attend the mediation or other ADR option session but
                 may be required to attend the mediation or other ADR session in
                 the Director’s discretion. If an individual is not represented by
                 counsel, that party may appear on his or her own behalf.

          4.     Attendance. The parties, party alternate (when applicable), insurer
                 (when applicable) and lead trial counsel shall attend all mediations
                 or other ADR option sessions in person unless their attendance has
                 been excused in advance by the Director or Mediating Judge. This
                 attendance requirement reflects the Court's view that a couple of
                 the principle purposes of the Program sessions are to afford
                 litigants an opportunity to articulate their positions and to learn
                 about opposing parties' positions and to be properly positioned to
                 make effective progress toward resolving the case. See Section
                 VI.B.2. for limitations on excusal and modification of these
                 requirements by Outside Mediators.

          5.     Location. Mediation shall be held in the city of the divisional
                 office in which the case is pending, unless otherwise agreed to in
                 advance by the parties and approved by the Mediator, or unless
                 otherwise selected by the Mediating Judge or Director.

     F.   Additional Sessions. Additional mediation sessions or other ADR option
          sessions may be required at the discretion of the Director, Mediating Judge
          or the Judge to whom the case is assigned.




                                       6

Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 6 of 12
      G.   Mediation Statements. If required, mediation statements shall not be
           filed with the Court, and the Judge assigned to hear the
           case shall not have access to them.

      H.   Mediation-Related Activities. The Mediator may in his or her discretion
           conduct pre- and post-mediation activities including but not limited to a
           pre-mediation conference to discuss, with the parties separately or jointly,
           what discovery or additional discovery is needed and may devise a plan
           for sharing the important information and/or conducting the key discovery
           that will equip them, as expeditiously as possible, to enter meaningful
           settlement discussions.

      I.   Status Reports. The Director may request a status report from the parties,
           counsel or the Mediator at any time. Failure of the parties, counsel or
           Outside Mediator to timely provide requested information may be grounds
           for sanctions under Section X.

      J.   Notice of Settlement. If the parties settle the case prior to the mediation
           or other ADR option session, the Mediator, the Director and
           the Court shall be advised promptly.

      K.   Reports of Violations. Mediators, parties and counsel shall promptly
           report in writing violations of this General Order to the Director and the
           Court.

VI.   PROCEDURES APPLICABLE TO CASES MEDIATED BY AN OUTSIDE
      MEDIATOR

      A.   Selection of Outside Mediator

           1.     Mediator Designation. When a case is assigned for mediation with
                  an Outside Mediator, the parties or their counsel shall within
                  fourteen calendar days after the Rule 26 meeting electronically file
                  a Designation of Mediator notice (as an ADR event in CM/ECF)
                  identifying their selected Outside Mediator and the date, time and
                  specific location of the mediation. If the Director approves, in
                  writing and in advance, the parties may select as a mediator a
                  person not on the List of Mediators.

           2.     No Agreement. If the parties do not agree on, or choose not to
                  select, an Outside Mediator, the Director will give the parties a list
                  of potential mediators selected by the Director. The number of
                  potential mediators on the list will be twice the number of "sides"
                  in the litigation plus one. (For example, in litigation having two
                  "sides," the list will contain five names.) The parties shall have
                  seven calendar days from the date on the list of potential mediators
                  to:


                                         7

Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 7 of 12
                a)     agree as to a mediator on the list and to report the selection
                       of the agreed mediator to the Director in writing, or

                b)     designate a "strike" of the names of two potential mediators
                       on the list of potential mediators. The strikes shall be in
                       writing and shall be delivered to the Director, preferably by
                       email or facsimile.

                Unless the parties have agreed on a mediator as set out above, the
                Director shall designate one of the persons remaining on the list of
                potential mediators and shall promptly notify the parties and the
                mediator of the designation.

                Upon failure of counsel to file the Designation of Mediator with all
                required information or to secure a mutually agreeable date, the
                Director may fix the date, time and place for the mediation or other
                ADR option session.

     B.   Mediation with Outside Mediators

          1.    Date of Mediation. Section V.B. governs the timeframe within
                which the mediation or other ADR option session shall occur. The
                Outside Mediator may, with the consent of all parties and counsel,
                reschedule the mediation to a date certain not later than ten
                calendar days after the scheduled date. Any continuance beyond
                that time or any continuance of the mediation deadline itself must
                be approved by the Director in accordance with Section V.C.

          2.    Limits on Excusing Attendance Requirements. Outside Mediators
                may not excuse the participation or appearance or allow an
                alternate mode of appearance of a party, party alternate, insurer or
                lead trial counsel from mediation without written approval from
                the Director sufficiently in advance of the mediation or other ADR
                option session.

          3.    Post-Mediation Status Report. Within ten calendar days following
                the conclusion of the mediation or other ADR option session, the
                Mediator and parties (pro se or by counsel) shall submit a status
                report to the Director stating whether all required parties were
                present, the outcome of the session, whether additional settlement
                discussions would be productive and at what point in time or after
                what specific events, in addition to other information the Director
                may require for evaluation or follow-up purposes. The Director
                may request a status report from the counsel or the Mediator at
                any time.




                                      8

Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 8 of 12
VII.   LIST OF OUTSIDE MEDIATORS

       A.   List of Mediators. The Director shall prepare a list of persons who appear
            to have the minimum requirements to serve as a Mediator, as described
            below. The Director may add or delete persons from the List of Mediators.
            A copy of the List of Mediators will be available on the Court’s internet
            site. Being on the List of Mediators is not an indication that a person is a
            qualified mediator. The Court is not certifying or representing that
            persons on the List of Mediators are qualified.

       B.   Minimum Requirements to be on the List of Mediators

            1.     All applicants for the List of Mediators must complete the required
                   application form.

            2.     A person may be placed on the List of Mediators if:

                   a)      the person has been a United States District Judge, a United
                           States Appellate Judge, a United States Magistrate Judge, a
                           United States Bankruptcy Judge, a Missouri Circuit Court
                           Judge, or a Missouri Appellate Judge, has had
                           arbitration or mediation experience, and has not
                           demonstrated any trait or behavior that is reasonably
                           believed by the Director to be contrary to the effective and
                           efficient management of this Program;

                   b)      the person is currently admitted to the Bar of this Court, has
                           been a member of a state bar for at least eight consecutive
                           years, has completed 16 hours of Continuing Legal
                           Education training, certified under Missouri Supreme Court
                           Rule 17 or by this Court, or the reasonable equivalent
                           thereof, and has not demonstrated any trait or behavior that
                           is reasonably believed by the Director to be contrary to the
                           effective and efficient management of this Program; or

                   c)      the person is not an attorney but has obtained a degree or
                           extensive specialized training in alternative dispute
                           resolution, conflict management or another discipline, has
                           had mediation experience, is knowledgeable about civil
                           litigation in federal court, and has not demonstrated any
                           trait or behavior that is reasonably believed by the Director
                           to be contrary to the effective and efficient management of
                           this Program.




                                         9

Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 9 of 12
     C.    Removal from List of Mediators. The Director may remove any person
           from the List of Mediators for any reason consistent with the effective
           management of the Program, including but not limited to, the Outside
           Mediator’s failure to: provide required reports, attend any required
           training sessions, contribute pro bono mediation time if requested, timely
           mediate cases or enforce applicable requirements for mediation in Outside
           Mediator cases.

     D.    Oath. Each Mediator shall take and sign the oath or affirmation
           prescribed by 28 U.S.C. § 453 before acting as a Mediator.

     E.    Disqualification.

           1.     Title 28 U.S.C. § 144 may be utilized to seek the disqualification
                  of a Mediator.

           2.     No person shall serve as a Mediator in any action in which any of
                  the circumstances specified in 28 U.S.C. § 455 exist and would
                  apply if the mediator were a "judge."

           3.     Any party who believes that a Mediator has a conflict of interest or
                  should be disqualified shall immediately bring the matter to the
                  attention of the Director.

     F.    Compensation

           1.     Normally Outside Mediators shall be compensated at no more than
                  the hourly rate listed by them in their application filed with the
                  Director and shown on the List of Mediators, which may be
                  updated on the List of Mediators at the request of the Outside
                  Mediator. However, if agreed in writing and in advance between
                  the Outside Mediator and the parties, the Outside Mediator may be
                  compensated at a different hourly rate or by an alternative
                  arrangement as stated in such agreement.

           2.     The Director may promulgate additional guidelines for Outside
                  Mediators for allowable charges (e.g., for research, preparation,
                  opinion writing, etc.) and expenses.

           3.     Absent agreement to the contrary, or unless the Director
                  determines otherwise, the cost of the Outside Mediator’s services
                  shall be borne equally by the parties.

           4.     Except as provided in this section, a Mediator shall not charge or
                  accept anything of value from any source whatsoever for or
                  relating to acting as a Mediator.



                                       10

Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 10 of 12
           5.     As a condition to inclusion on the List of Mediators maintained by
                  the Director, a Mediator shall agree to serve pro bono periodically
                  as assigned by the Director.

     G.    Mediators as Counsel in Other Cases. Any person who is designated as
           an Outside Mediator pursuant to this General Order shall not for that
           reason be disqualified from appearing as counsel in any other unrelated
           case pending before the Court.

VIII. CONFIDENTIALITY

     A.    General Provision

           1.     This Court shall treat as confidential all written and oral
                  communications, not under oath, made in connection with or
                  during any Program session except as otherwise noted in this
                  Section.

           2.     Any communication not under oath made in connection with any
                  proceeding in this Program shall not be disclosed to anybody
                  unrelated to the Program by the parties, their counsel, Mediators or
                  any other participant in the Program and shall not be used for any
                  purpose in any pending or future proceeding in this Court except
                  by consent of the parties or as allowed under the Federal Rules of
                  Evidence or this Section. Communications made in connection
                  with any proceeding in this Program include the comments,
                  assessments, evaluations or recommendations of the Mediator.
                  Mediators shall not discuss any matter communicated to them
                  during any Program proceeding except with the permission of the
                  parties or as allowed in Section VIII.B. below.

     B.    Exceptions

           1.     The Director may attend any Program session and may discuss
                  with any Mediating Judge or Outside Mediator or party any
                  communication, comment, assessment, evaluation or
                  recommendation.

           2.     The Director may require any attorney or party to provide status
                  reports on any ADR matter.

           3.     The Director, Mediating Judge or Outside Mediator may
                  communicate to the assigned Judge or the Court en banc regarding
                  noncompliance by parties, counsel or Outside Mediators with this
                  General Order.




                                       11

Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 11 of 12
             4.      Nothing in Section VIII.A. above shall prevent any party, counsel,
                     the Mediator, or the Director from discussing with any other
                     participant in the Program any communication made in connection
                     with the Program.

             5.      Nothing in Section VIII.A. above shall be construed to prevent
                     parties, counsel, the Mediator or the Director from responding to
                     inquiries by persons duly authorized by the Court to
                     analyze and evaluate the Program. The names of the people
                     responding and any information that could be used to identify
                     specific cases or parties shall be confidential.

      C.     Information Under Oath. Any information furnished under oath,
             whether by affidavit, testimony or otherwise, may be used for
             impeachment purposes in this Court or elsewhere. Nothing in this Order
             is intended to provide any protection from the criminal consequences of
             making a false statement under oath.

      D.     No Recording. No recording shall be made of any of the mediation,
             other ADR option session or any sessions held under the Program, nor
             shall parties utilize private reporters or any other type of recording
             technology during the Program sessions, unless all parties agree, or unless
             the recording is made under non-binding arbitration, or unless the parties
             have agreed to binding arbitration.

      E.     Confidentiality Agreement. The Mediator may ask the parties and all
             persons attending the mediation to sign a confidentiality agreement.

IX.   EVALUATION

      The Court may require evaluation of the Program to: (a) determine the success of
      the Program in expediting the processing of cases and reducing costs; (b) measure
      the satisfaction of the parties with the Program; (c) explore enhancements or
      changes to the Program; and (d) compare components or elements of the Program.

X.    SANCTIONS

      If a party or counsel fails to make a good faith effort to participate in the Program
      in accordance with the provisions and spirit of this Order, the assigned Judge or
      Court may impose appropriate sanctions.




                                           12

Case 4:18-cv-00759-GAF Document 2-1 Filed 09/25/18 Page 12 of 12
